                 Case: 1:12-cr-00043-MRB Doc #: 243 Filed: 05/21/14 Page: 1 of 1 PAGEID #: 1986
                                               UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF OHIO
                                                     WESTERN DIVISION
      United States of America,
                     Plaintiff,
                                                                                Case No.            1:12cr043-1
                                   v.                                           Judge Michael R. Barrett
           Tracy Bias.

                         Defendant.
                                               CRIMINAL SENTENCING MINUTES
                                                   Judge Michael R. Barrett
      Courtroom Deputy: Barbara Crum
      Court Reporter Maryann Maffia, Official                                        ^vyi- °i.y\/ H'*^ - ll'.tfl
      USPO: Laura Jensen
      Date: May 21, 2014                        Time: Commenced                Concluded 33*                 Total lt>.5k
      United States Attorney:                lwv>Cp44cct              Defendant Attorney:
                                   Dft found to be Guilty by Jury on Count(s                                  of Indictment
                         Nf        Dft plead to Count(s)              I                              Information
      Procedure:
      \j       Sentencing
      ^        PSI reviewed bythe parties. \y                PSI adopted.
               No Objections             \      Objections          Plaintiff \/ Defendant - suafcaJned
      ^t       Considered for sentencing (     letter(s) from
                   Motion by USA/Dft (     side bar held/     sealed)
               ^ PIf sentencing memo / ^-^TST /Dec 343.)
               \/_ Dft sentencing memo / ^^-PSl (JO&.. 33*0 - 4**+x-4-
               \i Mitigation Nj Dft CnsI Statement\ Dft Statement \/_ PIf Statement
                   Other Statements




      Sentencing:                                                                V     Fine $_^Sbo__ (interest waived)
       \j      Defendant sentenced                                               ^     Special Assessment $ 100. P&
               Probation                Years                                           Restitution $                  (interest waived)
          N/ Custody (U?               Months (remanded/vol sur.)                "V     Forfeiture (see below)

          N/   Supervised Release {0                  Years ( &? Mo.)
       N/ Standard/Special Conditions ofSup'd Reprobation
^V     No firearms/               Nj      drug testing/             X/ UNICOR"                  V     mental health   N< forfeiture (Doc. 240)
criminal conduct/DNA
 Nj       tu*j«fr tt»M                                                \     Kf5*o6 oUo
      ._                      I         *\<l»**-eur**b          I         ihW
                                                                           "*>!'•*          I
          X/   Dismissal of Counts (Motion/Order) presented - -fc b*. fu^*^txA,

       N/      Informed of Defendant's Right to Appeal                     \r_ pM>* LLv*. J*4_A^JlirwL - USPT& fc» eekJJUak.

      \ / _ Clerk to Prepare
                     Prepare Appeal
                             Appeal Notice
                                    Notice
